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Attorneys for Plaintiffs IORDAN R. GOLDBERG AND LYNN R. LEVITAN

 

 

 

 

UNITED STA'I`ES DISTRICT COURT
10 CENTRAL DISTRICT OF LOS ANGELES 5

JORDAN R.GOLDBERG, ' di 'd ah C~@§-. ~ W_» w
11 LYNN R. LEVITAN, anindlq$il£ml`,n u F'Y¢ ¥i°,'!. § 3 / 5 §§

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13 Pla:lntlffs, COMPLAINT FOR."‘..»' --
V. (1) VIOLATION OF FAIR
14 CREDIT REPORTING
NATIONS_TA_R M_oR_i_‘GAGE, LL_C, a ACT (15 U.s.C. §1681);
15 Delaware 11m1ted11ab111 corporatlon, and
DOES 1 through 10 inc usive (2) FRAUDULENT
16 uefendanw. lNDUcEMENT;
17 (3) FRAUDULENT _
18 MISREPRESENTATIONS; .
19 (4) NEGLIGENCE;
20
21 (5] FRAUDULENT BUSINESS
PRACTICES;
22 .
(6] UNFAIR BUSINESS
23 PRACTICES
24 DEMAND FOR JURY TRIAL
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Plaintiffs JORDAN R. GOLDBERG and LYNN R. LEVITAN
(“PLAINTIFFS”) for claims for relief against defendants, allege:

GENERAL ALLEGATIONS

 

THE PARTIES

1. At all times mentioned herein, PLAINTIFF JORDAN R.
GOLDBERG, an individual, and PLAINTIFF LYNN R. LEVITAN, an individual
(“PLAINTIFFS”) were and now are residents of the County of Los Angeles, State
of California.

2. At all times mentioned herein, Defendant NATIONSTAR
MORTGAGE, LLC (“NATIONSTAR”), is and Was a Delaware limited liability
company doing business in the State of California and is the current servicer and/or
assignee of PLAINTIFFS’ first mortgage on their PROPERTY (“10/1 ARM”).

3. The private property, Which is the subject of this lawsuit, is located at
840 Fernwood Pacific Drive, Topanga, California in the county of Los Angeles
(“PROPERTY”).

4. The true names and capacities, whether individual, corporate, associate
or otherwise of Defendants Does 1 through 100, inclusive, are unknown to
PLAINTIFFS, who thereafter sues said Defendants by said fictitious names.
PLAINTIFFS are informed and believe and thereon allege that each of the

Defendants designated herein as a Hctitiously named Defendant, is in some manner

COMPLAINT; DEMAND FOR JURY TRIAL
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responsible for the events and happenings herein referred to, either contractually or
tortuously, and caused the damage of the PLAINTIFFS as herein alleged. When
PLAINTIFFS ascertain the true names and capacities of Does 1 through 100,
inclusive, they will ask leave of this Court to amend their Cornplaint by setting
forth the same.

JURISDICTION AND VENUE

5. This action arises under 15 U.S.C. §1681 (F air Credit Reporting
Act)(“FCRA”).

6. The Court has jurisdiction over the subject matter of this action
pursuant to 28 U.S.C §1331 and 12 U.S.C.S. §2607, et seq. The amount in
controversy exceeds $75,000 exclusive of interest and costs. This Court has
personal jurisdiction over Defendant, and venue is proper in the Central District of
California pursuant to 28 U.S.C. §§ 1391(b) and (c). Defendant is doing business
in this District, and a substantial portion of Defendant’s unlawful activities have
taken place in this District.

GENERAL OVERVIEW OF CLAIMS

 

7. In January 2014, NATIONSTAR, the servicer of the 10/1 ARM
fraudulently induced PLAINTIFFS to apply for a loan Modiiication as part of a

Way to resolve a then pending litigation between PLAINTIFFS and

NATIONSTAR. lnitially, NATIONSTAR supplied PLAINTlFFS with a

COMPLAINT; DEMAND FOR JURY TRIAL
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Modification App]ication that had not mention of any escrow account. Attached
hereto and incorporated herein by this reference as Exhibit “A” is a true and correct
copy of the first loan Modification Application supplied by NATIONSTAR.

8. PLAINTIFFS submitted a Modification Application in good faith and
With the understanding that although a hardship Modification form was being used
(as this is the only form used by NATIONSTAR to evaluate customers for
Modifications), PLAINTIFFS were not, in fact, applying due to hardship but were
in fact applying for a “business as usual” Modification. ln January 2014,
NATIONSTAR denied Plaintiffs’ Modification Application.

9. Notwithstanding, NATIONSTAR instituted an escrow account for
PLAINTIFFS wherein NATIONSTAR, without notifying PLAINTIFFS, paid
PLAINTIFFS’ April property taxes in the amount of $4151.69. The escrow
account was for that payment, in addition to the second installment of property
taxes (not yet paid) and PLAINTIFFS’ insurance payments (not yet paid).

10. PLAINTIFFS had been timely and lilly paying property taxes and
insurance payments for the nine years that they had this mortgage.

11. PLAINTIFFS sent a check to the State of California Tax Assessor for
their property taxes in April 2014 because they did not know about the escrow

account or that NATIONSTAR had paid their property taxes. PLAINTIFFS’ check

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was cashed by the Tax Assessor, and thereafter, PLAINTIFFS received a refund
B‘om the State.

12. PLAINTIFFS were informed by the Tax Assessor’s office that they
received a refund because NATIONSTAR’ had paid the property taxes before
PLAINTIFFS’ check was received.

13. In addition to the authorized monthly mortgage amount of $3899.58,
NATIONSTAR Withdrew an additional unauthorized amount of $1447.79 from
PLAINTIFFS’ checking account on July 15, 2014. The $1447.79 was withdrawn
from PLAINT[FFS’ account to purportedly pay back the escrow account set up by
NATIONSTAR as a result of the Modification Application, which was denied.

14. NATIONSTAR erroneously set up PLAINTIFFS’ account for
PLAINTIFFS to pay $1447.79 per month as an additional amount that
PLAINTIFFS owed in order to pay back the escrow account. This was to include a
full year of property taxes and insurance. NATIONSTAR, however, only paid one
property tax payment in the amount of $4151.69.

15. When PLAINTIFFS realized that an additional $1447.79 had been
taken out of their account in July 2014, PLAINTIFFS immediately inquired of
NATIONSTAR.

16. PLAINTIFFS were informed for the first time that an escrow had

been set up and that taxes were paid on PLAINTIFFS’ behalf as a result.

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PLAINTIFFS immediately requested of NATIONSTAR and its counsel that the
escrow account be discontinued and PLAINTIFFS were given assurances that the
account would be closed and restored as it had been before the Modification
Application.

17. On July 24, 2014, PLAINTIFFS received correspondence from
NATIONSTAR, which indicated that the escrow account had, in fact, been closed
and that since PLAINTIFFS owed NATIONSTAR only a remaining $2703.90 for
the taxes paid on PLAINTIFFS’ behalf, PLAINTIFFS could elect to pay an
additional $225.32 per month for 12 months to reimburse NATIONSTAR starting
September 1, 2014 or alternatively, pay a lump sum payment of $2703.90 with no
due date specified Attached hereto and incorporated herein by this reference as
Exhibit “B” is a true and correct copy of the July 24, 2014 letter supplied by
NATIONSTAR.

18. On August 14, 2014 when PLAINTIFFS tried to make an electronic
payment for their mortgage payment, in the amount of $3 899.58_the usual and
customary mortgage amount owed by PLAINTIFFS on the 10/1 ARM.

19. Even though, according to the July 24, 2014 letter, the escrow had
been removed, NATIONSTAR’s website still reflected that PLAINTIFFS owed

$5347.37 per month based on the previously set up escrow account and which

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comprised the usual mortgage payment and the $1447.79 erroneous escrow
account.

20. On September 12, 2014, PLAINTIFFS attempted to again make a
monthly mortgage payment and the same issue occurred. When PLAINTIFFS
looked at the history on the account, it showed that an August mortgage payment
had NOT been made, only that a transaction fee of $9.95 on August 14, 2014 was
charged to PLAINTIFFS’ account.

21 . PLAINTIFFS inquired of NATIONSTAR and found out that the
August mortgage payment had not been credited to their account and instead, was
in a “suspension” account.

22. After numerous requests for NATIONSTAR to properly account for
the August mortgage payment made to NATIONSTAR by PLAINTIFFS in August
2014, NATIONSTAR has failed and refused to properly account. Attached hereto
and incorporated herein by this reference as Exhibit “C” is a true and correct copy
of an email confirmation of payment by PLAINTIFFS of their August 2014
mortgage payment,

23. PLAINTIFFS made their usual and customary mortgage payments of

$3899.58 in September and October.

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24. However, as of the date of filing this Complaint, NATIONSTAR’s on-
line accounting still shows that an additional $1447.5 8 is due each month by
PLAINTIFFS and that their account is in arrears.

25. In addition, NATIONSTAR illegally and improperly negatively
reported PLAINTIFFS to the credit reporting bureaus as 30-days late on their
mortgage payments in violation of 15 U.S.C. §1681 Fair Credit Reporting Act
(“FCRA”) even though PLAINTIFFS timely and fully paid their mortgage
payments Attached here to as Exhibit “D” is a true and correct copy of the
pertinent portion of the Transunion Credit Report pulled by Plaintiff Lynn R.
Levitan on October 15, 2014 which shows that NATIONSTAR reported her as 30
days late due to nonpayment of $1447, the amount that NATIONSTAR erroneously
allocated as repayment to the escrow account.

FIRST CLAIlVI FOR RELIEF
(VIOLATION OF FAIR CREDIT REPORTING ACT (15 U.S.C. §1681))

26. PLAINTIFFS incorporate by reference the allegations in paragraphs 1-
25, supra, as though set forth in herein.

27. NATIONSTAR fraudulently induced PLANTIFFS to apply for a loan
Modification under the guise that NATIONSTAR would equitably and properly

consider PLAINTIFFS for a loan modification

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28. In reliance on NATIONSTAR’s representations, PLAINTIFFS
submitted a Modification Application to NATIONSTAR.

29. Based on NATIONSTAR’s representations, PLAINTIFFS reasonably
believed that NATIONSTAR would fairly evaluate their Modification Application.

30. PLAINTIFFS had no reason to believe that NATIONSTAR would not
fairly evaluate them for a loan modification

31. PLAINTIFFS made their mortgage payments to NATIONSTAR
through auto pay, which authorized NATIONSTAR to only withdrawal the
$3899.58 monthly mortgage payment from PLAINTIFFS’ bank account.

32. PLAINTIFFS’ reasonably relied upon NATIONSTAR to use their
banking information in a proper manner.

33. Because PLAINTIFFS applied for a loan modification, and even
though it was denied, NATIONSTAR improperly set up an escrow account for
PLAINTIFFS’ mortgage for payment by NATIONSTAR of PLAINTIFFS’
property taxes and insurance.

34. NATIONSTAR set up an unauthorized escrow account.

35. Even if the escrow account Was set up properly, which PLAINTIFFS
deny, PLAINTIFFS never authorized NATIONSTAR to withdraw monies fi'om

their banking account in excess of their monthly mortgage payment.

COMPLAINT; DEMAND FOR JURY TRIAL
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36. Notwithstanding, in July 2014, NATIONSTAR withdrew an additional
$1447.58 from PLAINTIFFS’ checking account, Without PLAINTIFFS’
authorization

37. PLAINTIFFS relied on NATIONSTAR in their representations that
the escrow account would be terminated. NATIONSTAR, however, still shows
that PLAINTIFFS owe additional monies to pay back an escrow account.

38. And, PLAINTIFFS’ reasonably relied upon NATIONSTAR’s
representations then when PLAINTIFFS made a mortgage payment through the
NATIONSTAR website, those payments would be credited toward PLAINTIFFS’
mortgage instead of placed in a “suspension account”. There is no indication any
where on NATIONSTAR’s website that PLAINTIFFS made their August mortgage
payment.

39. NATIONSTAR did none of these things promised to PLAINTIFFS’,
placing PLAINTIFF S in default on their mortgage even though mortgage payments
Were made. NATIONSTAR misrepresented that it had closed PLAINTIFFS’
escrow account and was crediting their mortgage payments.

40. Instead, NATIONSTAR reported PLAINTIFFS to the credit reporting
agencies as 30 days late on their mortgages, thus adversely affecting their credit and

in violation of the FCRA.

COMPLAINT; DEMAND FOR .IURY TRIAL
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41. The negative reporting to the credit reporting agencies has caused
several credit cards to lower PLAINTIFFS’ credit line. NATIONSTAR’s actions
have and will cause causing the snowball effect of PLAINTIFFS being unable to
have access to cash and credit and putting them in imminent risk of losing their
home, credit and employment

42. In addition, based on NATIONSTAR’s conduct, PLAINTIFFS are
unable to refinance their existing mortgages as their credit has been damaged.

43. NATIONSTAR has refused to properly credit PLAINTIFFS’ mortgage
account. NATIONSTAR has also failed to repair PLAINTIFFS’ credit.

44. Based on the foregoing, PLAINTIFFS have been significantly
damaged by NATIONSTAR’s bad acts in violation of 15 U.S.C. 1681 as set forth
supra.

45. As a result of NATIONSTAR’s fraudulent acts, PLAINTIFFS
sustained damages as set forth supra, and in an amount to be proven at trial, but not
less than the jurisdictional limit of this Court, including but not limited to attorneys

fees and costs and damages for pain and suffering and emotional distress.

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SECOND CLAIM FOR RELIEF
(FRAUDULENT INDUCEMENT)

46. PLAINTIFFS incorporate by reference the allegations in paragraphs 1-
45 , supra, as though set forth in herein.

47. NATIONSTAR H'audulently induced PLANTIFFS to apply for a loan
Modification under the guise that NATIONSTAR would equitably and properly
consider PLAINTIFFS for a loan modification.

48. In reliance on NATIONSTAR’s representations, PLAINTIFFS
submitted a Modification Application to NATIONSTAR.

49. Based on NATIONSTAR’s representations, PLAINTIFFS reasonably
believed that NATIONSTAR would fairly evaluate their Modification Application.

50. PLAINTIFFS had no reason to believe that NATIONSTAR would not
fairly evaluate them for a loan modification.

51. PLAINTIFFS made their mortgage payments to NATIONSTAR
through auto pay, which authorized NATIONSTAR to only withdrawal the
$3 899.58 monthly mortgage payment from PLAINTIFFS’ bank account.

52. PLAINTIFFS’ reasonably relied upon NATIONSTAR to use their
banking information in a proper manner.

53. Because PLAINTIFFS applied for a loan modification, and even

though it Was denied, NATIONSTAR improperly set up an escrow account for

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PLAINTIFFS’ mortgage for payment by NATIONSTAR of PLAINTIFFS’
property taxes and insurance.

54. NATIONSTAR set up an unauthorized escrow account.

55. Even if the escrow account was set up properly, which PLAINTIFFS
deny, PLAINTIFFS never authorized NATIONSTAR to withdraw monies from
their banking account in excess of their monthly mortgage payment

56. Notwithstanding, in July 2014, NATIONSTAR withdrew an additional
$1447.58 from PLAINTIFFS’ checking account, Without PLAINTIFFS’
authorization.

57. PLAINTIFFS relied on NATIONSTAR in their representations that
the escrow account would be terminated NATIONSTAR, however, still shows
that PLAINTIFFS owe additional monies to pay back an escrow account.

5 8. And, PLAINTIFFS’ reasonably relied upon NATIONSTAR’s
representations then when PLAINTIFFS made a mortgage payment through the
NATIONSTAR website, those payments would be credited toward PLAINTIFFS’
mortgage instead of placed in a “suspension account”. There is no indication any
where on NATIONSTAR’s website that PLAINTIFFS made their August mortgage
payment,

59. NATIONSTAR did none of these things promised to PLAINTIFFS’,

placing PLAINTIFFS in default on their mortgage even though mortgage payments

COMPLAINT; DEMAND FOR JURY TRIAL
- 13 -

 

 

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Were made. NATIONSTAR misrepresented that it had closed PLAINTIFFS’
escrow account and was crediting their mortgage payments

60. Instead, NATIONSTAR reported PLAINTIFFS to the credit reporting
agencies as 30 days late on their mortgages, thus adversely affecting their credit and
in violation of the FCRA.

61. The negative reporting to the credit reporting agencies has caused
several credit cards to lower PLAINTIFFS’ credit line. NATIONSTAR’s actions
have and will cause causing the snowball effect of PLAINTIFFS being unable to
have access to cash and credit and putting them in imminent risk of losing their
home, credit and employment

62. In addition, based on NATIONSTAR’s conduct, PLAINTIFFS are
unable to refinance their existing mortgages as their credit has been damaged.

63. NATIONSTAR has refused to properly credit PLAINTIFFS’ mortgage
account. NATIONSTAR has also failed to repair PLAINTIFFS’ credit.

64. Based on the foregoing, PLAINTIFFS have been significantly
damaged by NATIONSTAR’s bad acts in violation of 15 U.S.C. 1681 as set forth
supra.

65. As a result of NATIONSTAR’s fraudulent acts, PLAINTIFFS

sustained damages as set forth supra, and in an amount to be proven at trial, but riot

COMPLAINT; DEMAND FOR JURY TRIAL
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less than the jurisdictional limit of this Court, including but not limited to attorneys
fees and costs and damages for pain and suffering and emotional distress
THIRD CLAIM FOR RELIEF
(FRAUDULENT MISREPRESENTATIONS)

66. PLAINTIFFS incorporate by reference the allegations in paragraphs
65, supra, as though set forth in herein.

67. NATIONSTAR fraudulently induced PLANTIFFS to apply for a loan
Modification under the guise that NATIONSTAR would equitably and properly
consider PLAINTIFFS for a loan modification

68. In reliance on NATIONSTAR’s representations, PLAINTIFFS
submitted a Modification Application to NATIONSTAR.

69. Based on NATIONSTAR’s fraudulent misrepresentations,
PLAINTIFFS reasonably believed that NATIONSTAR would fairly evaluate their
Modification Application.

70. PLAINTIFFS had no reason to believe that NATIONSTAR would not
fairly evaluate them for a loan modification

71. PLAINTIFFS made their mortgage payments to NATIONSTAR
through auto pay, which authorized NATIONSTAR to only withdrawal the

$3899.58 monthly mortgage payment from PLAINTIFFS’ bank account.

COMPLAINT; DEMAND FOR JURY TRIAL
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72. PLAINTIFFS’ reasonably relied upon NATIONSTAR to use their
banking information in a proper manner.

73. Because PLAINTIFFS applied for a loan modification, and even
though it was denied, NATIONSTAR improperly set up an escrow account for
PLAINTIFFS’ mortgage for payment by NATIONSTAR of PLAINTIFFS’
property taxes and insurance.

74. NATIONSTAR set up an unauthorized escrow account.

75. Even if the escrow account was set up properly, which PLAINTIFFS
deny, PLAINTIFFS never authorized NATIONSTAR to withdraw monies from
their banking account in excess of their monthly mortgage payment.

76. Notwithstanding, in .`l'uly 2014, NATIONSTAR withdrew an additional
$1447.58 from PLAINTIFFS’ checking account, without PLAINTIFFS’
authorization.

77. PLAINTIFFS relied on NATIONSTAR in their representations that
the escrow account would be terminated NATIONSTAR, however, still shows
that PLAINTIFFS owe additional monies to pay back an escrow account.

78. And, PLAINTIFFS’ reasonably relied upon NATIONSTAR’s
representations then when PLAINTIFFS made a mortgage payment through the
NATIONSTAR website, those payments would be credited toward PLAINTIFFS ’

mortgage instead of placed in a “suspension account”. There is no indication any

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where on NATIONSTAR’s website that PLAINTIFFS made their August mortgage
payment.

79. NATIONSTAR did none of these things promised to PLAINTIFFS’,
placing PLAINTIFFS in default on their mortgage even though mortgage payments
were made. NATIONSTAR misrepresented that it had closed PLAINTIFFS’
escrow account and was crediting their mortgage payments.

80. Instead, NATIONSTAR reported PLAlNTIFFS to the credit reporting
agencies as 30 days late on their mortgages, thus adversely affecting their credit and
in violation of the FCRA.

81. The negative reporting to the credit reporting agencies has caused
several credit cards to lower PLAINTIFFS’ credit line. NATIONSTAR’s actions
have and will cause causing the snowball effect of PLAINTIFFS being unable to
have access to cash and credit and putting them in imminent risk of losing their
home, credit and employment

82. In addition, based on NATIONSTAR’s conduct, PLAINTIFFS are
unable to refinance their existing mortgages as their credit has been damaged

83. NATIONSTAR has refused to properly credit PLAINTIFFS’ mortgage

account. NATIONSTAR has also failed to repair PLAINTIFFS’ credit

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84. Based on the foregoing, PLAINTIFFS have been significantly
damaged by NATIONSTAR’s bad acts in violation of 15 U.S.C. 1681 as set forth
supra.

85. As a result of NATIONSTAR’s fraudulent acts, PLAINTIFFS
sustained damages as set forth supra, and in an amount to be proven at trial, but not
less than the jurisdictional limit of this Court, including but not limited to attorneys
fees and costs and damages for pain and suffering and emotional distress.

FOURTH CLAIM FOR RELIEF
(NEGLIGENCE)

86. PLAINTIFFS incorporate by reference the allegations in paragraphs 1-
85, supra, as though set forth in herein.

87. NATIONSTAR fraudulently induced PLANTIFFS to apply for a loan
Modification under the guise that NATIONSTAR would equitably and properly
consider PLAINTIFFS for a loan modification

88. ln reliance on NATIONSTAR’s representations, PLAINTIFFS
submitted a Modification Application to NATIONSTAR.

89. Based on NATIONSTAR’s representations, PLAINTIFFS reasonably
believed that NATIONSTAR would fairly evaluate their Modification Application.

90. PLAINTIFFS had no reason to believe that NATIONSTAR would not

fairly evaluate them for a loan modification

COMPLAINT; DEMAND FOR JURY TRIAL
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91. PLAINTIFFS made their mortgage payments to NATIONSTAR

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through auto pay, which authorized NATIONSTAR to only withdrawal the
$3 899.5 8 monthly mortgage payment from PLAINTIFFS’ bank account.

92. PLAINTIFFS’ reasonably relied upon NATIONSTAR to use their
banking information in a proper manner.

93. Because PLAINTIFFS applied for a loan modification, and even

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though it was denied, NATIONSTAR improperly set up an escrow account for

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PLAINTIFFS’ mortgage for payment by NATIONSTAR of PLAINTIFFS’

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property taxes and insurance.

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94. NATIONSTAR set up an unauthorized escrow account.

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95 . Even if the escrow account was set up properly, which PLAINTIFFS

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deny, PLAINTIFFS never authorized NATIONSTAR to withdraw monies from

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their banking account in excess of their monthly mortgage payment.

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96. Notwithstanding, in July 2014, NATIONSTAR withdrew an additional

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$1447.5 8 from PLAINTIFFS’ checking account, without PLAINTIFFS’

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authorization.

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97. PLAINTIFFS relied on NATIONSTAR in their representations that

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the escrow account would be terminated NATIONSTAR, however, still shows

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that PLAINTIFFS owe additional monies to pay back an escrow account.

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COMPLAINT; DEMAND FOR JURY TRIAL
. 19 _

 

 

 

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98. NATIONSTAR, as PLAINTIFFS’ loan servicer, had a duty to
PLAINTIFFS to not improperly take funds out of their account, to conduct a proper
accounting of their account, and not to improperly and fraudulently report
PLAINTIFFS as 30 days late to the credit reporting agencies.

99. PLAINTIFFS’ reasonably relied upon NATIONSTAR’s
representations then when PLAINTIFFS made a mortgage payment through the
NATIONSTAR website, those payments would be credited toward PLAINTIFFS’
mortgage instead of placed in a “suspension account”. There is no indication any
where on NATIONSTAR’s website that PLAINTIFFS made their August mortgage
payment.

100. NATIONSTAR negligently did none of these things promised to
PLAINTIFFS’ , placing PLAINTIFFS in default on their mortgage even though
mortgage payments were made. NATIONSTAR misrepresented that it had closed
PLAINTIFFS’ escrow account and was crediting their mortgage payments

101. Instead, NATIONSTAR reported PLAINTIFFS to the credit reporting
agencies as 30 days late on their mortgages, thus adversely affecting their credit and
in violation of the FCRA.

102. The negative reporting to the credit reporting agencies has caused
several credit cards to lower PLAINTIFFS’ credit line. NATIONSTAR’s actions

have and will cause causing the snowball effect of PLAINTIFFS being unable to

COMPLAINT; DEMAND FOR JURY TRIAL
_ 20 _

 

 

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have access to cash and credit and putting them in imminent risk of losing their

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home, credit and employment

103. In addition, based on NATIONSTAR’s conduct, PLAINTIFFS are
unable to refinance their existing mortgages as their credit has been damaged

104. NATIONSTAR has refused to properly credit PLAINTIFFS’ mortgage

account. NATIONSTAR has also failed to repair PLAINTIFFS’ credit

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105. Based on the foregoing, PLAINTIFFS have been significantly

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damaged by NATIONSTAR’s bad acts in violation of 15 U.S.C. 1681 as set forth

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supra.

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106. As a result of NATIONSTAR’s fraudulent acts, PLAINTIFFS

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sustained damages as set forth supra, and in an amount to be proven at trial, but not

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less than the jurisdictional limit of this Court, including but not limited to attorneys

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fees and costs and damages for pain and suffering and emotional distress.

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FIFTH CLAIM FOR RELIEF

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VIOLATIONS OF BUSINESS AND PROFESSIONS CODE §17200

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(FRAUDULENT BUSINESS PRACTICES)

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107. PLAINTIFFS incorporate by reference the allegations in paragraphs 1-

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106, supra, as though set forth in herein.

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108. NATIONSTAR has engaged in acts or practices that constitute

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fraudulent business practices, as that term is defined in Section 17200 of the

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COMPLAINT; DEMAND FOR JURY TRIAL
_ 21 _

 

 

 

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Business and Professions Code. Such acts or practices include, but are not limited
to, the following:

109. NATIONSTAR fraudulently induced PLANTIFFS to apply for a loan
Modification under the guise that NATIONSTAR would equitably and properly
consider PLAINTIFFS for a loan modification

110. ln reliance on NATIONSTAR’s representations, PLAINTIFFS
submitted a Modification Application to NATIONSTAR.

111. Based on NATIONSTAR’s representations, PLAINTIFFS reasonably
believed that NATIONSTAR would fairly evaluate their Modification Application.

112. PLAINTIFFS had no reason to believe that NATIONSTAR would not
fairly evaluate them for a loan modification

113. PLAINTIFFS made their mortgage payments to NATIONSTAR
through auto pay, which authorized NATIONSTAR to only withdrawal the
$3 899.5 8 monthly mortgage payment nom PLAINTIFFS’ bank account.

114. PLAINTIFFS’ reasonably relied upon NATIONSTAR to use their
banking information in a proper manner.

115. Because PLAINTIFFS applied for a loan modification, and even
though it Was denied, NATIONSTAR improperly set up an escrow account for
PLAINTIFFS’ mortgage for payment by NATIONSTAR of PLAINTIFFS’

property taxes and insurance.

COMPLAINT; DEMAND FOR JURY TRIAL
_ 22 -

 

 

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116. NATIONSTAR set up an unauthorized escrow account.

117. Even if the escrow account Was set up properly, which PLAINTIFFS
deny, PLAINTIFFS never authorized NATIONSTAR to withdraw monies from
their banking account in excess of their monthly mortgage payment.

118. Notwithstanding, in July 2014, NATIONSTAR withdrew an additional
$1447.5 8 B'om PLAINTIFFS’ checking account, without PLAINTIFFS’
authorization.

119. PLAINTIFFS relied on NATIONSTAR in their representations that
the escrow account would be terminated NATIONSTAR, however, still shows
that PLAINTIFFS owe additional monies to pay back an escrow account.

120. And, PLAINTIFFS’ reasonably relied upon NATIONSTAR’s
representations then when PLAINTIFFS made a mortgage payment through the
NATIONSTAR website, those payments would be credited toward PLAINTIFFS’
mortgage instead of placed in a “suspension accoun ”. There is no indication any
where on NATIONSTAR’s website that PLAINTIFFS made their August mortgage
payment.

121. NATIONSTAR did none of these things promised to PLAINTIFFS’,
placing PLAINTIFFS in default on their mortgage even though mortgage payments
were made. NATIONSTAR misrepresented that it had closed PLAINTIFFS’

escrow account and was crediting their mortgage payments.

COMPLAINT; DEMAND FOR JURY TRIAL
.. 23 -

 

 

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122. Instead, NATIONSTAR reported PLAINTIFFS to the credit reporting
agencies as 30 days late on their mortgages, thus adversely affecting their credit and
in violation of the FCRA.

123. The negative reporting to the credit reporting agencies has caused
several credit cards to lower PLAINTIFFS’ credit line. NATIONSTAR’s actions
have and will cause causing the snowball effect of PLAINTIFFS being unable to
have access to cash and credit and putting them in imminent risk of losing their
home, credit and employment

124. In addition, based on NATIONSTAR’s conduct, PLAINTIFFS are
unable to refinance their existing mortgages as their credit has been damaged

125. NATIONSTAR has refused to properly credit PLAINTIFFS’ mortgage
account. NATIONSTAR has also failed to repair PLAINTIFFS’ credit

126. Based on the foregoing, PLAINTIFFS have been significantly
damaged by NATIONSTAR’s bad acts in violation of 15 U.S.C. 1681 as set forth
supra

127. As a result of NATIONSTAR’s fraudulent acts, PLAINTIFFS
sustained damages as set forth supra and in an amount to be proven at trial, but not
less than the jurisdictional limit of this Court, including but not limited to attorneys

fees and costs and damages for pain and suffering and emotional distress.

COMPLAINT; DEMAND FOR JURY TRIAL
_ 24 _

 

 

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SIXTH CLAIM FOR RELIEF
VIOLATIONS OF BUSINESS AND PROFESSIONS CODE §17200
(UNFAIR BUSINESS PRACTICES)

128. PLAINTIFFS incorporate by reference the allegations in paragraphs 1-
127, supra, as though set forth in herein.

129. NATIONSTAR has engaged in acts or practices that constitute
fraudulent business practices, as that term is defined in Section 17200 of the
Business and Professions Code. Such acts or practices include, but are not limited
to, the following:

130. NATIONSTAR fraudulently induced PLANTIFFS to apply for a loan
Modification under the guise that NATIONSTAR would equitably and properly
consider PLAINTIFFS for a loan modification

131. In reliance on NATIONSTAR’s representations, PLAINTIFFS
submitted a Modification Application to NATIONSTAR.

132. Based on NATIONSTAR’s representations, PLAINTIFFS reasonably
believed that NATIONSTAR would fairly evaluate their Modification Application.

133. PLAINTIFFS had no reason to believe that NATIONSTAR would not

fairly evaluate them for a loan modification

COMPLAINT; DEMAND FOR JURY TRlAL
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134. PLAINTIFFS made their mortgage payments to NATIONSTAR
through auto pay, which authorized NATIONSTAR to only withdrawal the
$3 899.5 8 monthly mortgage payment from PLAINTIFFS’ bank account.

135. PLAINTIFFS’ reasonably relied upon NATIONSTAR to use their
banking information in a proper manner.

136. Because PLAINTIFFS applied for a loan modification and even
though it was denied, NATIONSTAR improperly set up an escrow account for
PLAINTIFFS’ mortgage for payment by NATIONSTAR of PLAINTIFFS’
property taxes and insurance.

137. NATIONSTAR set up an unauthorized escrow account.

138. Even if the escrow account was set up properly, which PLAINTIFFS
deny, PLAINTIFFS never authorized NATIONSTAR to Withdraw monies from
their banking account in excess of their monthly mortgage payment.

139. Notwithstanding, in July 2014, NATIONSTAR withdrew an additional
$1447.5 8 from PLAINTIFFS’ checking account, without PLAINTIFFS’
authorization.

140. PLAINTIFFS relied on NATIONSTAR in their representations that
the escrow account would be terminated NATIONSTAR, however, still shows

that PLAINTIFFS owe additional monies to pay back an escrow account.

COMPLAINT; DEMAND FOR JURY TRIAL
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141. And, PLAINTIFFS’ reasonably relied upon NATIONSTAR’s

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2 representations then When PLAINTIFFS made a mortgage payment through the

: NATIONSTAR website, those payments would be credited toward PLAINTIFFS’

5 mortgage instead of placed in a “suspension account”. There is no indication any

: where on NATIONSTAR’s website that PLAINTIFFS made their August mortgage

3 payment.

9 142. NATIONSTAR did none of these things promised to PLAINTIFFS’,
:(1) placing PLAINTIFFS in default on their mortgage even though mortgage payments
12 were made. NATIONSTAR misrepresented that it had closed PLAINTIFFS’

:: escrow account and was crediting their mortgage payments.

15 143. Instead, NATIONSTAR reported PLAINTIFFS to the credit reporting
16 agencies as 30 days late on their mortgages, thus adversely affecting their credit and
:; in violation of the FCRA.

19 144. The negative reporting to the credit reporting agencies has caused

:‘1] several credit cards to lower PLAINTIFFS’ credit line. NATIONSTAR’s actions
22 have and will cause causing the snowball effect of PLAINTIFFS being unable to
:: have access tc cash end credit end putting them in imminent risk cf losing their

25 home, credit and employment

26 145. In addition, based on NATIONSTAR’s conduct, PLAINTIFFS are

:; unable to refinance their existing mortgages as their credit has been damaged

COMPLAINT; DEMAND FOR JURY TRIAL
_ 27 _

 

 

 

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146. NATIONSTAR has refused to properly credit PLAINTIFFS’ mortgage
account. NATIONSTAR has also failed to repair PLAINTIFFS’ credit
147. Based on the foregoing, PLAINTIFFS have been significantly
damaged by NATIONSTAR’s bad acts in violation of 15 U.S.C. 1681 as set forth
supra
148. As a result of NATIONSTAR’s fraudulent acts, PLAINTIFFS
sustained damages as set forth supra and in an amount to be proven at trial, but not
less than the jurisdictional limit of this Court, including but not limited to attorneys
fees and costs and damages for pain and suffering and emotional distress.
PRAYER FOR JUDGMENT
WHEREFORE, PLAINTIFFS pray for judgment against Defendant
NATIONSTAR MORTGAGE, LLC as follows:
l. For compensatory damages;
2. For actual damages;
3. For an award of punitive or exemplary damages in an amount

this Court deems just and proper;

COMPLAINT; DEMAND FOR JURY TRIAL
_ 28 _

 

 

 

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4. Damages for pain and suffering and emotional distress;
5. For attorneys’ fees and costs incurred herein; and

6. For all further relief the Court deems proper and just

 

Respectfully submitted,
Dated: ”/’°f"f 1 \
ynn R. Levitan, Esq.
Attorney for PLAINTIFFS
JORDAN R. GOLDBERG and LYNN
R. LEVITAN

COMPLAINT; DEMAND FOR JURY TRIAL
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DEMAND FOR JURY TRIAL

 

PLAINTIFFS respectfully demand a jury trial in this matter.

Respectfiilly submitted,

Dated: f/f 10 /jz "_C/ *'“‘- ----.._

Lynn R. l.evitan, Esq.

Attorney for PLAINTIFFS

JORDAN R. GOLDBERG and LYNN
R. LEVITAN

 

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COMPLAINT; DEMAND FOR JUR¥ TRIAL
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EXHIBIT A

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Mandatory Document Check List Guidellnes:

itt Request for Mortgage Assistance ( RMA):

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Borrower and Co-Borrower information

Hardship Affidavit

lncomelExpenses for your household

lnformation for Government Monitoring Purposes
Dodd-Frank

Most Recent Signed Copy of Tax return 1040 including all
schedules

*!+ Documents Required clue to employment status:

1.

2.
3.

2 Most recent consecutive pay stubs within in the last 90
days

Nlost Reeent P&L year to date

Current award letter for fixed incomelchild
supportlalimony lunemployment showing start date and
maximum weekly benefits amounts if applicable.

+!* Documents Required to lncome-re|ated statuses:

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. Current Lease Agreement for rental income
. Proof of receipt of income with 2 months bank statement

verifying deposits

. Schedu|e 1065

. Schedule 1020SI112OS

. lRS W2 or 1099

. Recorded Divorce Decree, Separatlon agreement,

Offlcial Death Certit“lcate, Quit claim deed, or other type
of legal written agreement

. Proof of HOA documentation showing amount and

frequency of payment

 

www.Nat|on stathg.com

 

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P|ease find enclosed the following documents that must be completed in full and returned to Nationstar Morigage in
order for us lo begin the evaluation process P|ease note that during this evaluation period. your home will not be
referred to foreclosure or if your loan has been previously referred to foreclosure, we will continue the foreclosure
process while we evaluate your loan for HAMP. However, no foreclosure sale will be conducted and you will
not lose your home during the HAMP evaluation in order to be considered for this program. these documents
must be retumec

i. Request for llllorlgage Asslstanoe (R|illA)
This fotrn incorporates ali necessaryinfcrmetion required fcrthe i-lcme Afforc|da|e Modification Program. The
form must besigned. dated and retumet:l. The sections to be completed ere:
o Borrcwer and Co-Borrower information
Hardship Affldevit - this section explains the circumstances that have or vtili mate ii difficult for you to
stay up-to-daiewith your mcrqage payments. There is no notary required and you need not be currently
delinquent on you‘ ioan.
lncomelExpenses for your household
information For Governmeni Monitoring Purpcses

l|. lRS 4506T-EZ Requesf for'l'ranscript of Tax Return Form
This form allch Nailonsiar Morigageto order a transcript of your most recent tax reium for income verification
purposes ii you are unable to provide asigned copy of the reium. The form must be signed deted, and reiumed.

lll. Addltlonal Dooum¢ntation (if applicable)
The additional documentation listed below should be sent in along with the Request for Mcrtgage Assistance (RMA) form
and the lRS 4506'1' -EZ Requestfor Transcript chax Return.

¢ Fcreech bormwerwho is a wage earner (sa'ar.eo) employed
> Ccpy cf the most recent filed federal tax return with all schedules; and
> Copyofthetwo mostrecent paysiubs.

» For each borrower wm s ser-employed
i> Copycf the most recent filed federal tax return with all schedules and
> Gopy of the most recent quarterler yeer»tc-date profit/loss statement

 

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- For each borrower who has income such as socialsecurty, disability ordoath benefts, pension, public
assistance or unemploym ent:
> Copy of most recent federal tax returnwih allscheduies andW-2 forms.
> Copy of benefits statementor letter from the pro\ider that states the amount, frequency and duration of
the benefit.
- Pub|ic assistance cr unemployment benefits must ccntinuafcr at least nine (9) months to be
considered for qualifying income under this program
> Proof of receipt of incomesuch as two months bank statements showing deposit amountsl

o For each borrower who ls relying on alimony or child support as qualifying inc omo:
> Copy of divorce decree, separation agreement or other written agreement or decree that states the
amourrt‘of the aiimonyor child support and period of time over which itwii| be received
> Proof of receipt of incomesuch as two months bank statements showing deposit amcunts.

¢ For each borrower whole relying onim:ome f‘om a boerder in the prope:fy:
> Copyof rental l lease agreementl
> Proof of receipt of income such as two rronths bank statements showing deposit amounts cr cancel bd
checks

0 For each borrower whors relying onlncome ri'om a separah rentaiproparhr:
> Copyof most recent filed federal taxratum with Scheduie E.
> Copyof rental l lease agreement
> Proof of receipt of income such as two months bank statements showing deposit amounts or cancelled
checks.

Please send the documents to Natlonstar Mortgage LLC one of two ways:

By mali: Naticnstar Mortgage LLC
Attn: Making Home Affordab|e Loan Modification Processing Unit
P.O. Box 630268
irving. TX 75063

By fax: '1-214-488-1993

Sincerely,

Nationstar Mortgage LLC

This is an attempt to collect a debt and any information obtained may be used for that purpose.

if you have any questions about Home Affordahle Moditication, you can call the Homeowner’s HOPET"'
Hotline at 1-BBB-BBS-HOPE (4673). This Hoiline can help with questions daout the program and offers access
to free i-lUD-certifled counseling services in Eng|ish and Spanis h.

Ntachmerts: Request for NortgegsAsslstance (RMA); lRS4506T-EZ Request

 

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llyou are emen‘encing etinanoht hardship and naedhei). you must complete and submitih'a form along with other required docuneoiationto be considered
for foreclosure prevention options und erihe Mat:ttg Home Atford able tMHA) Program. \'ou must prodde information about yourseilend your meritless to either
keep or transition out ot your property; a description of the herddtb that prevents you from paying your momege(s): information about all of your hcome.
expenses and hmnciai assets; whether you have dedared bankruptcy, and information about the mortgege(e) on yourprlncipal residenr!l*lend other a'ngta
family real estate that you own Finaiiy. you wil need to tatum to your ben servicer (1) this completed. sgnsd and dated Requeet for Mm'igage As|stanoe
(RMA); and (2) comp bted end signed lRS Form 4BQB-Tor 4506T-EZ; and (3) ali required income documentation tientttled in Soction 4.

When you sign anddeiio this form you will maine important certificatione, representations end agreements, including certifying that all
of the information in this RllltAis accl.u'ate and trutht'ui.

     

 

 

   

 

 

 

 

 

 

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MNL|N@ AnnRESS MAILiNG ADDRESS (FBFMEAS BORROWER, WR|TE "SMIE")
EMA“_ADDRESS EM\lLADDRE§
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Fiitg D sie: Borlrruptcy case number Heve you recmtiyhelndq:ioyed sueyfromyourp'hdpa

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Hastho n'origag onanyohorprcpertyti'atyouoranyco-bo'rowerom iada psnranert HAlVP modification? n Yee l:l No ll "Yes'. iown'ary?

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2692-75901-0000347-001-5'000-000-$0-000

 

SE0110N 35 PR|NC|PAL RESl_DENCE lNFORMATlON ._ ' '
(T his caption is required even if you are not eeeidn'g mortgage a's`sisi'anoe on your principal residenoe)

 

 

l amreqr.reetlng mortgage assistance vtith my principal residence n Yes m No
ii ‘°t' ee", lvvcnt tot [:I Keepthe property n Seli the property

ProperlyAd dreee: Loan i.D . Num'oe r.
Othcr mortgagee or lens entire property? |____lYes |:| No Lien |-iotdert’Ser\ioer Name: Loan l.D. Nte'nber‘.___

Do you have condominium or homeowner association (l-iOA)ieee? EYes ENo if "Yee", Monthty Fee$_ _ Are fees paid current? Efee |:| No

 

Name end address that fees are paid toc

 

Doeeyourmorigege peymentinc'r.rdeiexee and hsurance? EYee l:lNo lf'No', arethe taxes end insurance petdcuneni? n Yee n No
Annuai i-iomeownere insurance $
is the property lhin tier se|e? |:| Yee ENo ti"Yee'. Ltsting A,gent’e Neme: Phone Num ber:

 

Llet dete? _ _ Have you received a purchase oil'er? I:] the l:l No AmourtofOti'sr$ Closhg Date:_

 

 

Compiete this section ONL\' ifyou are requesting morbage miatrmee with n property that ls hot your principal residence

Prlncbei residence servicername: Prinolpd residence eervlcerphone number.

 

 

le the mortgageon your principa|reeldence pa|d? ij lies nolo lt"hid', numberofrnonths your payment is paetd.re(lft<nown):

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

Monthiy Grcse wages $ First ertgme Prindpa| & Gheck|n| Aooount(e) $
lntered Payrnant‘ $

Overt|me $ Sooonci Mortgege Pr|rroipa| & Checking Aocount(e) $
interest Payment' $

Seifen'ployment income $ Horneowner’a insurenoe" $ Savingsi Money Merket $

Urrenpioyment income $ Property Taxes* $ CDs $

Unta>ted Social Seourity iSSD $ HONConcio Feee* $ Stocitsi' Bcnds- $

Food Stampe{Weiterr-J $ CreditCerdei instalment debt Oiher Cash on Hanci $
{lotei nin. peyrnerit) $ -

Taxd:ie Sociei Security or Chld Supporli Aiimony $

retirement income $

Chld Suppdt l litiin'tt:lrgi“r $ Car payments $

T|pe, oomrnieaione. bonus Mortgage Payments other

and everiime $ propertiee**‘* $

Gross Rerts Recetred *** $ Other $ Val.le ct di Red Estade

emept principal residence $
Other $ Oiher $
'l'otal (Groee inocrnc) $ Total DebtiExperrses $ 'l‘ohl Aeeete $

 

 

 

 

 

 

** Ai|mony. child support or separate maintenance income need not be disclosed if you do not choose to have it considered for
repaying your mortgage debt
‘**|no|ude rental lncome received from oil properties you own EXGEPT a propertyfor which you ere seeking mortgage assistance
tn Section 6.
*‘“ include mortgage payments on all properties you own EXCEPT your principal residence end the property for which you are
seeking mortgage assistance in Section 6.

 

 

 

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' ' _'_ Hequlred lncor¢'e Doumentatrnn ' " ' '
(Yd.r`r eenrt_oer ay`req u§t additional documentation to complete yo_u"r evdu a_tlon _tor MHA)

   

 

 

 

 

 

 

Al Berl'avlers El helms namedle Form4505T or 4506T-EZ
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recent pay sub(e) ttet mttects el teeet SOdaye otyear'to-date |nmme.
Ehrrov\erlee Dabe(MMDDHY)N
Co-Borrowe' H|re Date twan D N'rr)
E'| Are you sel-enpbyed? E| P\revldeyor.r most recert signed end dated qiarbrly or year-tndete pmflt end lose ettrltrei'¢'eril
Ei Doyou lacettrstlpe, domn|setore, bonuses. hd.rehg E| Deecripa ira typed Irnume, mfreqmntyyoureoel\re he beams and third partythcurrerhtlen
sbnenoe or overln'e'l deeorbhg the insane (e. g.. errpbymert emerson ar pdrtol,te decadeer Iplneome).
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sebtenee? recent bank deterrent or depost ecMoee}.

 

tIi Provuea copy of t;hed|vomedea'ee. eepareltonngreement or ott'er witten bgd egreernett tied
v|h demurt that daleethaamol.ntot' thepoyrnants andtt're period ul tma thetydu are entitled b
receive tiem. mo
Doyou recelveat rmr¢y, drid support or seperdlon
n mehtanenee peyrrenle? |Zt Copesot‘ youror\n nnstreoentbarkatate-nerte cr depodtad~»t§e ahovtrg youheve received paymert.

Notlee: Altmony. oh ltd support nrsepente maintenance lheolm ned not be disoioeed If youdo
notehooee o have lt considered forro ur men e debt

 

El vatdeye\r meet recert Fedora| Tax tatum with el scheme irrr_:lzdng MaddoE.
Doyou heretnwme from leer properties ttatare

n mi W\»l' F`rldill rad€bn¢l"‘ |'.'| l rertalhcune hunt nported on Sohed.rle E. pmtltde a copy ott-re curran base idgreor\'rrrntwith
tank statements mowngdepoet otrert ctacks.

 

 

 

 

 
 

  
 

   

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‘ ' '59¢|10||8 Wl.|'m eddtto'fl.d shede` |fnei:a'sséry,) -_. --__ _

 

 

     

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

PropertyAddress: Loan l.D. Number; _____
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Propertyts: L-.l Vecant m Sooond or seasonal home n Rented Gmse Monthly Rent$ __ Mortthtymortgage pmem' $_____
` 1 other .i`=_r'ép.e`rrv.)§z_’_ § " ` " `

PropertyAddreas: Loan l.D. Nr.rmbet: _
Sar\toerNeme: Mortgega Balanee $ __ Current Valua $
Pmperryls: l] vacant |:l second or seasonal home El named ames ironme Rem$ Mmthry`mmrgage payment- s

“ i_`; :_Oi,r¥ér.i?lrér`=e'li#`-’éf *'
PrepertyAddrees: Loan l.D. Num ber: _ _
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Properryte: l:l timm l:l second or seasonal home l:lnenred ames Munm\y Rem$_ mhrymorigaga pamenr'$ _

 

 

" The arrot.l nt cf the mmhlypeymntmad¢towur|ender- lndludlng, ifapplleebte,mont‘hlyprinolpel, lrl temt,roel property taxed and insurance premiums

Page a of 7 carson

 

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` _r ' `r¢e“`vl§té the nder ON_L'_-' neese-vetetomeeseeslsemrrrm_ twentieth etjter_rp=tn_c‘rpar.pt=tdé_ief¢)

 

 

lam requesting mortgage assistance wiiha rental property. I:lYae. I:l No
iamrequesdno mortgage assisianeawitita second erseeecnai home, |:lYee |:| ito
lt “\'as"to elther, lwent‘to: n Keepthe property l:l Seit the property

Pmpertdeeee: Loan lD. Nurrbsr:

 

De yeuirave a accord rmrtgege antheproperty E] Vas I:l No \‘ 'Yee". Ssrvicer Neme: Loen|.D. Nunber:

 

Are rtcan presume |'_`lYes |:]No

 

Doyou have cmdcm'nlurr orharreewrrerasaccistion(i-lON teee? n Yes ENo if "Yee',Morthty Fee 5
Neme and address thatiaas are midto:

 

Doesycu'rnortgags paymsrt lrrcir.rie taxesand hsuame? nwa m No if 'No", a'a fre hiresani insuerreepeid orrreri? n Yea n No

Amuei Homecrrrnrrs ine.lranea $ Amta| PropertyTerrse $

 

 

tr reqrsarng assistance vrthe tenor pmperty. proer s currerruy. l:| vacant mcmahon for renr.
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g Occuried eye be1entaa that prirreirn| reeirbnoe.

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ii rental prcpariyiaoccur:iedbyatenart: Termot'hasel compancy l l - l l' Groes Mmtlty Rert $
MMIDDIWW MMI DD r'YYW

 

t renal property is vacarl, rieserba efforts to rent propean

 

 

if ar:plcehie. describe relator'ehp of and dueticn ct mn~rentpaytngeccr.part of rental propertyn

 

 

terre propertyfnrserer |_'_| ven |_”_|Nc r“Yes'.r.rsrrq pgerre Narre: more Nunher:
th dete'i‘ i-leve you reostveda wdraee eller? [___] Yes n No momtof Oii'er $ _____ Gloa|ng Dete:

 

 

 

 

 

  
   

   

   

   

n By checking this boxend initiating beiow. | em requesting a mortgage modification undch HAw|th reepecttro the rental property described |n this
Secticn 6 and lherabycert|iy under penaltyef perj.rry that each ofthe following statements b true and correct with respeottc that property:

 

 

1. | Irrtendto rent the property to atrerrant'or tenants for d least five years tdloningthe effective date oi my mortgage medtication. l
understand thettrre servicer, the U.S. Deparimerrt of thaTreeaury,or their respective agents may ask ma to provideevldsnce ot my
intention to rent the property during such lrrre. l luther understarri that such evidence n'ust show thatl used reasonable efforts to
rent tha property in a tarrant or tenants orr ayear-round baut, if the property is or becomes vacentdu'|rrg such five-year perlod.

the: The term "reaacnabie efioria' hciudee, without imitaticn, adrertlsing the property ior rent h loud ncnapq)ers, websites cr
other corrmcnly used forms of written or electrode media. andlor engaging a real estate or other professional to assist |n renihg the
pmperty, in either caee, at or below nari<et rent.

2. The property is notrry secondary residence end l do not intend in ussthe property as a secondary residence for at lesetflve years

following the etiecilve mta cf my mortgage modiica|iorr. I understand that lfl do use the property as asacondery ras|demedurirrg
such Hva-yearperlod. my use of the property maybe considered to be hoonsisterrt with the certifications i have made herein.

Ncis: The term 'seoondary residencs" |ncl.rdee, without iinitailon, a second hcrne. vacation horne or other type cf residence thatl
personally use or occupy on a part-tirrre, seasonal or other basis.

3. | do not arm more than live (5) single-farrin homes (i.a.. one»tro-four unitpropertlls) (exr:ir.rsive of my principal residence).

   
  

    

    
 

 

   

   
   

      

 

       

    

   

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ennltrn le aids enden arant or rand arantto occr.r
none cl which will be considered to be inconsistent with lie certifications made herein.

         

This cettlication b effective on ihe earlier ofthe date lsted below cr the date tire RMA is received by your eervicer.

in tilais: Borr'ower Co-horrower

 

 

 

 

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' " '_E¢r`i¢i!i'ti'tj>iv§_'?r§§t`r=msc,i:iiurrem§tt ?_ * l " "

     

 

 

The folloth information is requested by the fede\el government ln accordance vtil'r the Dodd-Frar'lk Wel Sired Retorm md Coneumsr
Protectlon Act(Pub. L.111-203). You are required to fumlah this information The law providesth mpersuri shel be e|lgbls to hadn
receivh| assistance from the Makirrg Home Ai’tnrcbble Progiam, authorized under the Emergency Econcrnb Stebllzeilon Act of 2008 (12
U.S.C. 5201 etseq.), cr any other mortgage assistance program authorized or funded by that Act. if such psrson, in connection with a
mortgage or real estate transa<.>tioi'il has been convicted,wlthinths lest 10 years. of anyone ofthe followhg: (A) felony lercsny, thelt. fi'eud,
or forgery, iB) money laundeth or (C)tax evasion.

|!we catify mder penalty of perjury that l!we hate not been convicted within the last 10 years ot any one ofthe tdlowlng in connection with
a mortgage or real estate hanseciion:

(a) felony larceny. theftl fraud, or forgery.
(b) money laundering or
(c) tax evasion.

llwe understand that the servlcsr, the U.S. Dapertrrisnt ofthe Treasury, or their respective agents may invesng the accuracy of my
statements by performing roui'ne buckgromd ohecks, including automated searches offcdsrd, slate and county detabases. to conilrrn that
lfwehave not been convicted ofsuch crimes. iNte also understand that knowingly sul:m|tthg false lntmnatlon n'ay violate Fedsrai iew. 'i”his
cert|ticetion ls effective on the carterd the dale listed below orthe date this RMA is received by your servicer.

 

 

1 remedies .'- ' '

"=E.'-.

     

 

 

The inferring information is requested by the fedsiet govenunent in order to monitor compliance with federal statutes that prohibit discrimination in
heuehg. Yoir era not required to furnish this information butera encouraged to do eci The law provides that a lender or servicer may not
discrtn'ii nets either orr the basis of thi_s information or m whether you choose to furnish lt. lfyou furnish the irifon'natr'on, please provide buitiethn|clty
and reos. For iaoe,you meychedt more then one designation ifyou do notttunieh ett'ntcity. race. orsex. the tendsror eanlcer is required to note the
iriformeitononthe basis of visual obesweiloncr surnamelfyou hine msdethis request tore icen mcdiiceiicn ln person. ifyou do notwieh totiirnishihs

ln'fonretion, pie see check the box below.

 

 

 

 

 

 

BORROWER lJ 1 do hot wish is furnish ihs informaum GO-BORROWER lIi 1 do hot wish to iumtsh ihs intomaiich
eihnrcuy: El r-iispe nrc or Leihe Eihhl¢iiy: l:l r-iispsric cr i_aiho
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Thie requestwastahen by: lnterv!eher‘s Name mrht ortjq:re) & lD Numbcv'
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L-_l M-l interviewch Sigi'rature Date
\:I Telephone
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Psge s sr 1 centum

 

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t Y"_SF§=“¢Ntr`e¢RitdiifE*éA“Pjt`=l.%BY@§RBWYRBCKNQWLEIJ‘GEMENTAH@ A¢RéEMENr' '

 

 

1. l certi‘ythatailof the 'nion'netion ln this RMAh trutth and the hardship(s) identified above has contributedtc submission ofthls reqth
for mran reief.

2. l understand and acknowledge that the Servicer, the U.S. Depsrlmeniofthe Treasury, the miner or guarantororf my mortgage loan. or
their respective agents may investigate the accuracy ofmyetatemeris, may require me to provide addiitcnet supporting documentation
and that knowlnglysutxnitthg fdse information may violate Federai and other appicahie law.

3. l authorize and give permission to the Servicer. the U.S. Departrnent cf the Treasury. and their respective agents, to assemble end use a
current consumer report nn al borrowers obligated on the loan, to investigate each borrowers eligibiin for MHA end the accuracy ofmy
statemenv and sny doo.rrrrentation that l provide inconnectton with my request fur sssisiance. l understand that these consumer reports
may inciude,withcut imitation. a credit reporl, and be essenbted and used at any point durhg the application processio assess each
borrower's eligibility thermher. x

4. i understand that if t have lntentionaly defaulted on my arising mortgage. engaged h fraud or if it is detem'r'ned that any of ny statements
or enyiniormation contahed in the documentation that t provide are meterialy false and thati was ineligible for assistance under MHAl the
Servt:er. the U.S. Deperiment of lieTreaeury. ortheir respective agents may terminate my participation h MHA. inchan any right to
futr.rre benetits and incentives that otherwise would have been avelalrie r.rrder thc progrem, and also may seek other remedies available at
law and in equiy, such as recouth any benente or incentives previouety received

5. locrti‘ytnatany propertyfor which l arn requestier assistance is a habitable residential property that is rrotsubject to a condemnation
notice.

6. lceltfythatl am wi!lng to provide al requested documenm andto respond to ali Servicer cornm.lrrtceitone h a threr manner. l understand
that ti'ne is ofthe eeaence.

7. i uncbrstand that the Servicer wl use the information | provide to evaluate my eligibility for avatiebte relief options and foreclosure
atematives, but the Servicer is not obligated b utter me assistance based solely on the representations in this documentor other
documentation submitted h connection with myrsqueet.

i am wiling to com-niito credt oouneeing it lt is detenrined that my tinmcia| hardship is rented to crrceesive debt.

9. tit am eiigibte for assistance under MHA. and i accept and agree to ali terms of an MHA ncttce, pierr. or agreernent. telco agree that the
terms of this Acknowtsdgmentand Agreernent are incorporated into such notice, pian, or agreement by reference as ifeet forth therein in
tul. My frst threiy payment, if requiredl following my servicer's determination end mitticatton ct my eiglbitty or prequaiiticatton for MHA
assistancewili serve as my acceptance of the tennl set forth h the notice. planl or ageement sent to rrre.

10. l understand that my Servicsrr mill collect and record personal irformatlcn that| submit h this RMA and during the evaluation process,
tnchding, but not imited to, my name, eddress. telephone number, social security nurrber, credit score. irrcome, payment history.
government montorirrg information and lrionnalon about myeccountbeiancesand aciivity.t understand and consentto the Servicer'e
disclosure of my parental information and the terms of any Mi-lA mitce. plan oragreement to the U.S. Departmentofthe Treeswy and is
agents, Fannie Mee and Freddie Mac in connection viiihlheir respmslbiiities u1der MHA. cornpaniee that perform supportservicee in
conjunction wih lint-iiil any lmestor. insr.rer, guararrtor. or ssrvicer tiretovrns, |rstr'es, guarartees. orservlces my first ten or subordinate
lien (|fapplcairle) mortgage iom(e) and to any HUD-certited housing counselor.

11. looreertt to being contacted consenting this request for mortgage assistance at any e-mail address or celuiar or mobile telephone number
| have provided to the Servber. `ihic includes tort messages aid telephone oatis to my celuier or mobile telephorre.

12. t understand that if rrry monthly payment did not include escrowe fur taxes and lnsu'ence, t wit now be required lode so.t understand that
any prior wa'ver that diowed me lo pay drestiy for torres and Insurance is revoked. l agree to addition en escrow acoountand to pay
required escrows hto theteccount.

The undersigned certliies under pendty of per,i.rrythetail stabemenlsin this document are lr'ue end correct

 

Borrower Sbneture Sociei Security Nurnber Date of Birih Bate

 

 

Co-Borrcwer Signair.ire Sccia| Security Number Dste of Birth Date

 

 

 

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if you have questions about this document or the Maklng Home Afibidobl'e Progrem, please carl your servicen
if you have questions about thepmgram that your servicer cannot answer orneed ttirtheroormeelng. you can
cell the Homeovmer‘a HOPE‘“ Hotine at 1-888-995-HOPE {4673).

The Hottine can heip with questions about b‘ie program and offers free HUD-certitted comselng
eervhea fn Eng!leh endSpenish.

 

 

 

       

 

Be eddsed that by signing this dooumentyou understand that any documents and lnformationyou aubm|tlo yourser\iloerln connech with the Making
Home Affotd able Program are under penalty of pol|ury. Anymlsel:atement of material feet made |n the completion oftheee doeumerle hdudhg but not
limited to misstatement regath youroorupanoy ofyour property. hardship drurmelancee. endorincome. expensae. oraasete will subject you to potential
criminal |moetlgatlon and pmeeultton for theithng rrlmes'. per|um talae atetemante, mall fraud. and wire fraud. 1119 |ntonnatlon contained tn these
documents la euh]eotto enamhation and verltbatlon. Any potential merepresantetlon will be referred lo the ag;>roprteta law enforcement autltor|ty for
invadbatlon and prosectdim. By signing this document you certlty. represent and agree that: ‘Under penalty pe liury. all documents and In[ormaitun t have
pro\tded to mySenicar lnoonnerlionwlh the Meking Home Attordable Progmm. includ'ng the documents end information regarding my ellg|bllty for the
program, are true and oorred.'

lt you are aware of treud. unala, ahuea, miamanagementor nnarepreaentetione aftlta|ed with the Troubted Aeeet Relef Plog ram. please contact the
SiGTARP rtotl|ne byco|llng 1-3?1-8!62009 (tol|-free), 202-622-4559 (fext, orwww.slgtarp.govand provide them.wltn your neme. ourneme as ;ouraem'oer,
yourqproperly address. loan number and the reason for escalation. Mal| oan be sent to Hotline Oltloa et the Spu¢l hepeelor Generat torTroublad Asset
Rel Proglam.1BO1LSL NW. washington DC 20220.

Beware of Foreotosure Reeoua Soame. l-telp la FREE|
§

- There te never a fee to get assistance orlniarrnatton about the Maklng Home Atfordab|e Prograrnfromyour lender or a HUD-apprwed
housan oounsalor.

' Bemre of any person or organization hateeka you to pay a tea ln exchange forhouslng counseling lawless or modification of a delinquent
loan

- Beu.are of anyone \M'\o aayethay lan “aave" your home llyou aim or transfer overthe deedtoyou' houso. Do notelgn over the deed to
your propam to any organlzatlonor lnd\rlduel urteas you are working directly wtthyour mortgge company to forgive you debt

- Never makeyour mortgage payments toanyone other then your mortgage company without their approvat.

 

 

 

 

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2-692-75901-00|]034?'~1¥)1-11-000-000-000-000

Form 450 6.'-"EZ

Short Form Request for individual Tax Return Transcr|pt
(Rov. January 201 2)

OhB Na 1545-2154

oammm°"m.mm ry b Request may not be processed litho form is incomplete or illegible
honor name ama

 

'l'lp. Uee Form 4506T-EZ to order a 1040 series tex return tre'\serlpttl'ee d margo. oryou can quietly requesttlanscrlpts by udng our automated eaf_heb
santos tools. Please vldt ue at lRS.gov md oick m 'Oniar a 1l'a1ecrlpt‘ orce|l‘l-BUD-SOB-BMS.

__________,___._.._-_-_________.___..___-_
1a Name shown on tax ratum. if a]ohtrelurn, enter the nameshownli'et. 1b Flrat social security number or individual taxpayu
identlti cation nunher on tax return

 

 

2a lf a joirt ralnrn, enter epouee'e name shown oniax return 2b Seoond social seor.rrity number or lndvldual
taxpayer identification number |f]o|rt tax return

 

 

3 Current name. address (hclurilng apl.. room. or sole no.). oily. siete, Mo (eeelrrstruoilons)

 

 

4 Pravbus address shownon theleet return ilied |l‘ d¥ierent frornllne3 (eeelralruollonei

 

5 lf ihetrenaorlpt la iobe rralledto elttrd party (euoh as a mutgageoonpany].enhrh ltird party’a namo. addraae, and tele|:t'merurrber.The
lRS has no control r>\erwhat thelhl'd partydoea wth thetaxhiorrratlen.

Thl\'d party name Talephone number

Natlonsiar Mortgago
Md'ocs (hot.rdlng apt, room, or suite no.), clty. stale. and ZPoode

P.O. Box630268, lnilng, TX 15063

Caution. lfthetax transcript le bahg meted ioalhrd perty, ensure thatyouha~.e liled hine Bbeiore alg'llng. Slgn and detelheforrn once you have
titled ln this ine. Oomplaling this swp hope toproiec:t yourpllvacy. Onoe the lRS discloses your lRS transcrlpttothe third partyin on Ine 5,the
lRS has m contel oterer thetht‘d party doeswih he hionnation. if you world llreto ll'nlihethlrri parlya authorlytodec|oseyour trartecrbt

informatim, yo.l can epect‘ytl'ts irelaan in your written mrsernentwlh the thlrd party.

6 Year(e) requeetad.Enter the year(s) of the return transcript you are requesting (lor example. '2008'). Moet requests will be processed witl'tn
10 business daye.

2012

 

 

 

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[:] Checl<ihb box f you haienoltllediha lRSortheiRS has netted youihatone ottheyears foruhi:h yo.\arerequeeingatianeoript
invoked lrh ntily theft on yourtedaral mr ratum.

Note. ifthe lRS is webb ioiocetea rerun thatmatches theiaxpeyert:lsntilylnforrraibnprovn'edabove, orr' lRS records intricate martha forum has
notbeen fled, thelRSmey notin'youorihethro'partylhett nee maintain bcete arei'urn, orrhata reitmwes notfied, whbl)everts epplt.-able.

 

Caut|on. Do notelgn iris form unless dlapplbablaihee have been oornpleted.

 

Slgneture ot ta)qoayer(a). l declarelha‘l lam aiher the ta>oager whose name le erwin on ina 1a or tie. ifthe request applesto a loht return, either
husband orvdie mustsign. iiote: Fortranacriets being sent tea third perty, this form must berecetred wihh 120 days debenture date.

Phonanunberoftaxpayer
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b Shnaturo (soe`Fiat.-uotons) oats
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Spous's signature Daia

 

For Prlvacy Aot end Paperworlr Reduclion Act N¢loe, eeo page 2. Cat. No. 541855 Form 4506T-EZ (Rer. 1-2‘.112)

 

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Form racer-a rsav. 1-2012)

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Page 2

 

Scctlon references are to the internal Revenue
Code unless otherwise noted.

What's New

The |RS has created a page on |RS.gov for
information about Form 4506T-EZ at
Mtpi'Mwurii's.gov/forrn»tSDS lnfonnaiion about
any recent developments affecting Form
4506T-EZ (such as legislation enacted after we
released lt) will be posted on that page.

Cautlcn. Do not sign this form unless all
applicable lines have been completed.

Purpose of form.lndlvlduals can use Form
4508T-E2 to request a tax return transcript for
the current and the prior three years that
includes most lines of the original tax relum.
The tax return transcript will not show
payments. penalty assessments or
adjustments made to the originain filed reiurn.
You can elec designate ion line 5) a third party
(such as a mortgage company) to receive a
transcript Form 4506T-EZ cannot be used by
taxpayers who file Form 1040 based on a tax
year beginning in one calendar year end ending
in the following year fiscal tex year). Taxpayers
using a fiscal tax year must file Form 4506-T,
Requast for Transorlpl of`l'ex Raturn, to
request a return transcript

Use Form 4506-T to request tax relum
transcriptsl tax account lnfom'ratlon, W-2
lnformalion, 1099 inlormation, verification of
non-ll|lng, and record of account.

Autemated transcript request.You san
quickly request transcripts by using our
automated self-help service loois. Please visit
ue at lRS.gov and oiicir on 'Order a ‘iranscrlpi'
or call 1-800-908-9946.

Where to lile.Nlail or tax Form 4506T-E to
the address below for the state you lived in
when the retum was flied.

lf you are requesting more than one transcript
or other product and the chart below shows two
different addressee. send your request to the
address based on tire address of your most
recent return.

Mail or fair to the
“lrrternai Revanue
Servlce" at:

If you filed an
individual return
and lived in:

Aiabama, Kentuclry.
Loulslana.
Mlsslsslppl.
Terrneasee. Texas, e
foreign countryl
Amerlcan Samoa.
Pucrto Rloc, Guam.
the Cornmonwealth
of the Norlhem
Mariana lsiands. tl‘ie
U.S. Vlrgln |slands, or
A.P.O. or F.P.O.
address

Alaska. Arizom,
Aricanses, Californ|a.
Colorado. i'lawali,
idaho, illinoisl
indianal iowa,
Kansas, Mlchlgan,
nlrnnesotal Montona.
Nebreeka, Nevaria,
New' Mexlco, North
Dakota. Olrlehoma.
Oregon, South
leoia, Utruh,
Waehington.
Wlsconsln. Wyomlrrg

Connecticutl
Deiawara, District or
Coiumble, Malne,
irrtaryland,
Massaehl.leeils,
Mlseoud, New
Hampshlrel New
Jersey. Nerv York.
Norih Gsroiina, Ohio.
Pennsylvanla. Rhode
leland, Soulh
Oarolina, Vennont,
Vlrgirrial Wast\r'|rglrrle

RAIVS Team
stop erie Auso
Austlt'i. TX 73301
512-460-2272

 

RA|VS Team
Stop 37106
Fresno, CA 93888
559-456-58?6

RANS Team
Stop 6105 P-B
Kansas Cilyl MO

64999
816-292-6102

 

 

Line 1b. Enier your employer identification
nunber (Elirl) ifyour request relates to a
business tatum Oiherwlse, enter the first social
security number (SSN) or your individual
taxpayer identification number (i'l`|N) shown orr
the retum. Fcr exemple, if you are requestier
Form 1040 that includes Schedr.ila 0 (Form
1040), enter your SSN.

L|ne 3. Enter your current eddiess. if you usa a
P.O. boatl include lt on this line.

Line 4r Enter the address shown on the last
relum filed if different from the address entered
on line 3.

Nots. |f the address orr lines 3 and 4 are different
and you have not changed your address with the
lRS. file Form 8822. Charige ofAddrsss.
S|gnature and dete.Fonrr 4506T.-EZ must be
signed and dated by the taxpayer islad on line 1a
or 2a. if you completed line 5 requesting the
information be sent to a third perly, the iRS must
receive Fcnn 4506'l'-EZ within 120 days ofthe
date signed by the taxpayeror ltwi|| be ralected.
Enaur‘e that all applicable lhcs are completed
before slgnfrrg.

Tranecripts of|olrlliy filed tax returns may be
furnished tro either spouee. On|y one signature
is requirsd. Sign Form 450ttT-EZ exactly as
your name appeared on the original retum. if
you changed your name. also sign your
current name.

 

Privacy Act and Peperwork Reductton Act
Not|co. We ask for the tnfomrallon entitle
form to establish your right lo gain access to
the requested tax information under the
internal Rerverrue Code. We need this
information lo properly identify the tax
information and respond to your request |f
you request a transcriptl sections 6103 end
6109 require you to provide this lnformai:ion,
including your SSN. if you do not provide this
informationl we may mt be able lo process
your requesi. Prov|dlng false or fraudulent
lnfor'metlon may subject you to penalties

Ftoutlne uses of this information include givier
lt lo the Depertrrrsnt of Justiee for civil end
criminal iii|gat|on. and cities. states, the
District of Colr.unbla, md U.S.
commonwealths and possessions for use |n
administering their tax lawa. We may also
disclose this lnfomratlon to other countries
under a tax treaty, to federal and state
agencies to enforce federal nonlax criminal
iaws, or lo federal law enforcement and
intelligence agencies to combat terrorism.

Vou are not mqured to provide the information
requeeied'on a form that is subject to the
Paperworlr Reduotlon Act unless the form
displays a valid OMEi control number. Booirs
or records relating to a form or its instructions
must be retained as long as their contents
rrray become material in tire administration of
any tntema| Revenue iaw. Gerrereliy, tax
reiun'rs and return information are confldentlal,
es required by section 5103,

The time needed to complete end tile Form
4506T-EZ will very depending on individual
circumstances The estimated average lane
irs Learntng about the law or the fonn,u
min.; Preparlng the form,tB min.; and
Copylng, assembling, and sending the
form to the lRS, 20 min.

ll you have comments concerning the
accuracy of these time estimates or
suggestions for making Form 45061' -EZ
simpler, we would be happy to hear from you.
¥ou can write to:

lntemel Ravenue Ser'vlce Tax Products
Coordinetlng Commlttea
SE:W:GAR:MP:T:M:S 1111 Consiliution Ave.
NW. lit-5526 Wastrlngton. DC 20224

Do not send the form to this address. instead,
sea Whare to tileon this pege.

 

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Scam artists are stealing millions of dollars from distressed homeowners by promising immediate rehef from
foreclosurel or demanding cash for counseling services when HU lid-approved counsel lng agencies provide_lhe same
services for FREE. if you receive an offer, information or advi:ethat sounds too good to be tme. lt probably ls. Don't
let lhem lake advanmge ofyou, your situation. your house or\our money. Remember, help is FREE

Howto Spot a Scam - bewareof a company or person who:

Asks for a fee in advance to wdk with your lender to modify, tell nance. or reinstate your mortgag e.

Guarantees they can stop a foreclosure or get your loan modified.

Adv|ses you to stop paying your mortgageoompanyand pay them 'nstead. -
Preasures you to sign over thedeed to your home or sign any paperwork that you haven't had a chance to read,
and you don‘tfuliy understand.

Cla|ms to offer "govemrneni-ap proved" or "offloial govemment" loan modifications

Asl<s you to release personam nancial l\'\formalion onilne or over the phone and you have not been working wilh
this person and/or do not know them.

EEEE

DE

How to Report a Scam - do one of the following:

m Go to Mwntlgans§amaggand ii|l out the Loan Modification Soam Prevantion Networl<‘s (LMSPN)
complaint form onllne and get more information on how to fight baok. Note: you can also fill out this form
and send to the fax number!e-mailladdress (your cholcal) on the back of the forrn.

ii Cal| '1(588)995-HOPE (4673) and teli tha counselor about your situation and that you believe you got
scammed or know of a soam.

 

The Loan Modification Soam Prevanir'on Nefwork is a national coalition of governmental
and pti/ate organize ibns led byFannb Mae. Freddb Mao, Nel'ghborWarksAmerrba“"
and the Lawye)s' Commt‘tee for CM Rights Undar Law.

 

 

 

 

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Home Affordahle Modification Program Hardship Atfidavit

Borrower Name: Date of Birth:
Co-Borrower Name: Date of Birth:
Property Streei Address:
Property Gity, ST, Zip:
Servicer:

Loan Number:

 

 

 

 

in order to quality for ’s ("Servicer”) offer to enter into an

agreement to modify my loan under the federal governments Home Attordable Modification

Program (the "Agreement'), |lwe amlare submitting this form to the Servicer and indicating by

my!our checkmarks (“~/") the one or more events that contribute to myiour difficulty making

payments on myiour mortgage |oan.

Borrcwer Oc-Elorruwer

\'es No Ves No

i:i |:| l:] I:i lilly income has been reduced cr |ost. For example: unemploymentl
underemployment, reduced job hcurs. reduced payl or a decline in self-employed
business earnings. l have provided details below under “Exp|anation."

Yes Nc Yes No
\:| ij I:I My household iinancia| circumstances have changed For examp|e: death
in family, serious or chronic illnessl permanent or short-term disabiilty.
increased family responsibilities (adopticn or birth of a child, taking care of
elderly relatives or other family members). l have provided details below
under “E)rplanation.’l

Yes No Yes

l:l
ge

My expenses have increasedl For example: monthly mortgage payment
has increased or will increase, high medical and hesith-care costs,
uninsured losses (such as those due to tires or natural disasters),
unexpectedly high utility bil|s, increased real property taxes. l have provided
details below under "Explanatlon."

Yss Nc Yes No

|:\ ij l:i l:l le cash reserves are insufficient to maintain the payment on my mortgage
loan and cover basic living expenses at the same time. Cash reserves
include assets such as cash, savings money market iunds, marketable
stocks or bonds (excluding retirement accounts). Cash reserves dc not
include assets that serve as an emergency fund (generally equal to three
times my monthly debt payments). | have provided details below under
"Explanation."

Yes No Yes No

i:] |:\ |:l |:] lilly monthly debt payments are excessive, and l am overextended with my
creditors l may have used credit cards, home equity loans or other credit to
make my monthly mortgage payments. l have provided details below under
"Explanation."

Yes No Yes Nc
[l ij |:| [| There are other reasons llwe cannot make our mortgage payments. |have

provided details beiow under l"Exg:)lan:=ttlon."

Form 1122 Pegei ci 5

 

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information for Government illionito ring Pgrgoses

The_fo|lowing information is requested byrne federal government in order to monitor compliance
with federal statutes that prohibit discrimination in housing. You are not required to furnish this
information, but are encouraged to do so. The law provides that a lender or servicer may not
discriminate either on the basis of this information, or on whether you choose to furnish ii. if
you furnish the |nformatlon, please provide both ethnicity and race. For race, you may check more
than one designation if you do not furnish ethnicity. race, or sex, the lender or servicer is required
to note the information on the basis of visual observation or surname if you have made this request
for a loan modification in person. if you do not wish to furnish the informationl please check

 

 

 

 

 

 

 

the box below.
BORROWER l:l ido not wish to furnish this information CO-BOHROWEH l l ido not wish lo furnish this information
”E'r'hnrury: ij Hrspanrc orl.arrno Erhnrcrry= ij nepach Larinn
i:i Noi Hispan|c or Latino [;i th Hispanic or Laiino
Racer |J American indian or Aiasira Native Hace: l_l American indian or Naska Native
|:l Asian ill Asien
i:i Biack or Afrlcan American ij Biack or African American
l:l Native Hawaiian or Oiirer Pacific islander ij Naiive Hawaiian or Other Paciiic |slancler
El white Ei white
Se:t: |:i Female Settt ij Ferna|e
I:lMaie []Maie
l l' 1 - _ nw - ___-_.__”__
l '_“'__"
, . ______ ____ ___
i .__..._~ __1

 

 

 

BorrowerfCo-Bcrrower Acknowledgement and Agreement

1. Under penalty of perjury, |lwe certify that all of the information in this affidavit is truthful and
the event(s) identified above hasfhave contributed to my/our need to modify the terms of
myfour mortgage ioarr.

2. lfwe understand and acknowledge the Servicer may investigate the accuracy of myfour
stafements, may require melus to provide supporting documentationl and that knowingly
submitting false information may violate Federai iaw.

3. i/we understand the Servicer will pull a current credit report on ali borrowers obligated on the
Note.

4. lfwe understand that if llwe have intentionally defaulted on mylour existing mortgagel
engaged in fraud or misrepresented any fact(s) in connection with this Hardship Afiidavit, or
if ifwe do not provide ali of the required documentationl the Senrlcer may cancel the
Agreement and may pursue foreclosure on myfcur home.

5. |Iwe certify that my/our propertny owner-occupied and |lwe have not received a
condemnation notice.

6. |/we certify that irwe am!are willing to commit to credit counseling if it is determined that
mylour financial hardship is related to excessive debt.

7. i/we certify that llwe anr/are willing to provide ali requested documents and to respond to all
Servicer communication in a timely manner. ilwe understand that time is of the essence

Form 1122 Page 2 of 5

 

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8. |fwe understand that the Servicer will use this information to evaluate my/our eligibility for a
loan modification or other workout, but the Servicer is not obligated to offer melus
assistance based solely on the representations in this affidavit

9. i/we accept and agree to ali terms of the Home Aifordabie Modification Triai Period (“Trlai
Period") Pian which is incorporated herein by reference as if set forth in fuil.

10. i!we agree that when the Servicer accepts and posts a payment during the Triai Period it will
be without prejudice to, and wiii not be deemed a waiver of, the acceleration of my loan cr
foreclosure action and related activities and shall not constitute a cure of my default under
my loan unless such payments are sufficientto completely cure my entire default under my
|oan.

11. |lwe agree that any prior waiver as to payment of escrow items in connection with my loan
has been revoked.

12. ilwe agree to the establishment of an escrow account and the payment of escrow items if an
escrow account never existed on my |oan.

13. llwe understand that Servicer will collect and record personal information, including, but not
imited to. my name, address, telephone number, social security numberl credit score,
income, payment history, government monitoring information, and information about account
balances and activity. l understand and consent to the disclosure of my personal
information and the terms of the Triai Period P|an and Modification Agreement by Servicer to
(a) the U.S. Departmenf of the Treasury, (b) Fannie lr/iae and Freddie iviac in connection
with their responsibilities under the Homeowner Affcrdabiiity and Stability Pian; (c) any
investor, insurer, guarantor or servicer that owns, insures, guarantees or services my first
lien or subordinate lien (if applicabie) mortgage |oan(s); (d) companies that perform support
services for the Home Affordab|e Modification Program and the Second Lien Modification
Program; and (e) any HUD certified housing counselor.

 

 

 

 

 

 

 

 

 

 

Borrower Signature Date Co-Borrower Signature Date
E-maii Address: E-maii Address:

Cei| Phone if Ce|| Phone #

Home Phone ii Home Phone #

Work Phone # Work Phone ii

Sociai Security ii _______ Sociai Security #_____
Expianation:

 

 

 

 

 

Form 1122 Page 3 of 5

 

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EXHIBIT B

Case 2:14-cV-08759-PSG-i\/|RW Document 1

Filed 11/12/14 Page 51 of 59 Page iD #:58

~A".\

Nal:i ns
M 0 ll T G
P.O. Box 630_348
irving TX 75063
]uly 24, 2014
]ordan Goldberg
Lynn Levi'tan

840 Fernwood Pacific Drive
Topanga, CA 90290

RE: Research Rel'erence #RR-139282

Dear]ordan Coidbcrg and Lynn Levitan,
This is in response to your request received ]uiy 21, 2014 to cancel the escrow account on your loan.

You'r request has been processed accordingly By removing the escrow collection you will be
responsible for payment ofthe property taxes and insurance. Shouid Nationstar Morrgage be notified of
non-renewal of your insurance coverage or non-payment of your property taxes, we will make payment
accordingly and reestablish the escrow account if this occurs, the escrow account will remain in force
until the account is paid in fuii.

As of the date of this letter, your escrow account has a negative balance in die amount of $2,703.90.
Repayment of this advance has been spread over 12 months and effective September 1, 2014 your
monthly payment will be $4,124.91, which includes the following:

Principai and lnterest: $3,899 5
Es££QuLAilitancs.iieuaiMn…Zzs.da
Totai Payment Amcunt' $4.124.91

You may pay the escrow advance in full by sending a check or money order in the amount of $2,703.90
tu:

Nationstar Mortgage
350 Highland Drive _
Lewis.iiile, TX 75067

Please reference your loan number on your payment to ensure accurate and timely application of the
funds. Upon receipt of this payment, your monthly payment will be adjusted to $3,899.58.

Should you have any additional questions regarding your account or to view details about your loan
summary and recent account activity, visit us online at M.Mng,ation§tag_ggm. To get started, click
‘Register‘ and see how easy it is tro manage your mortgage oniine. You will have immediate access to:

Frequentiy asked questions

A full payment history

Escrow information

Automatic payment enrollment

Mortgage Loan, Escrow Account Disclosure, and Tax and interest Statements

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As a valued borrower, your satisfaction is our top priority. lf we can be of further assistance, you can
contact us directly at Mmm@nagpnsmmail§nm or you can call our Customer Service
Department at 1-888-480-2432.

Sincerely,

Research and Response Department
Nationstar Mortgage LLC

Notionstar is o debt collecton This is an attempt to collect o debt and any information obtained will be used
for that purpose However, if you are currently in bankruptcy or have received o discharge in bankruptcy
this communication i's not an attempt to collect o debt from you personally co the extent that it is included

in your bankruptcy or has been discharged but is provided jbr infon'notional purposes only g

Esc034 ¢

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EXHIBIT C

Case 2:14-cV-08759-PSG-i\/|RW Document 1 Filed 11/12/14 Page 54 of 59 Page |D #:61

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Customer Payment Setup
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lo lrLEV|TAN1@verizon.net

This mes'_agc contains blocked images. Show images

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Thank you for making a payment at MyNationstar.comi

Beiow are your payment detaiis:

From Aocount: Bank ot Amorica. Naiionai Aosocialion ****1181

To Account: Loan Numher "'**"25042
Payment Date: Wodnosday August 15. 2014
Payment Amount: $3,899.58
Transaciion Fee: 39.95
Addltional Escrow: $0.00
Additiona| Principal: mm
Other Amount: $0.00
Total Paymen‘l: $3,909.53

¥our confirmation number is 19262527

Submilied on: 811 312014

Nationsiar Mortgage LLC
NMLS# 2119

Chenge this setting

Wednasday. August 13. 2014

 

Bricin D.
Minkow

Senl'or
Vice President
NMLW 256638

883.333.0242

Br'nn.iiinkow@
> Pi’ilSpBGlMi_].CiIi|

 

 

 

"" Please do not respond to this message directly as this inbox is not monitorod.

To contact us directly please go tc: www.MyNationstar.com.

Confident|al: The material in this e-mail may contain confidential information and is transmitted
only for the use of the intended recipientl it you have received this message in error, please delete
the material from any oomputer. disk driva, diskette, or other storage device or media

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_ '-crvu.» covert ‘sH_E`,E_T

 

i. (a) PLAINT|FFS ( Check box lf_you are representing yourself § )

.lordan R, Goidberg and Lynn R. Leviian

DE_FENDAHTS (Checi<box if you-are representing yourself § )

Nauenscar mugage. i.Lc

 

`- ibi County cf Residence of Fir'st Liste'ci Pl_aintli’f` -Los Angeies
rExcEPrlN us. PLArNirFF cAsEsl '

County_of Resi_dence:of F'i_rst Listed Defendant De`iaware
"rll\r.u. s minors cns_e_s oNirJ

 

(c) Attorneys (Fi'rm Narne, Address odd T_ei'eplione Number)' ii_ you are‘
"iiepresentlng yourseif. provide the same information

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Case 2:14-cV-08759-PSG-i\/|RW Document 1 Filed 11/12/14 Page 56 of 59 Page lD #:63
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ClVlL COVER SHEET

Vlll. VENUE: Your answers to the questions below will determine the division ofthe Court to which this case will be initially assigned. This initial assignment is subject
to change, in accordance with the Court's General Ordersr upon review by the Court of your Con'i plaint or Notice of Remova|.

 

QUEST|ON A: Was this case removed '

from state court?

§ ¥es § No

lf 'no, " skip to Question B. if "yes,” checkthe
box to the right that applies, enter the
corresponding division in response to
Question E, below,and continue from there.

STATE CASE WAS PEND|NC. lN THE COUNT¥ OF

lNlT|AL DlVlSlON lN CACD lS

 

§ Los Ange|es,\fentura, Santa Barbara. or San Luis Obispo

Western

 

 

§ Orange Southern
§ Riverside orSan Bernardino Eastern

 

 

 

QUEST|ON B: ls the Unlted States, or
one of its agencies or employees, a
PLA|NTIFF in this action?

§Ves|:|No

lf "no, " skip to Question C. lf "yes." answer
Question B.l,at right.

B.1. Do 50% or more of the defendants who reside in
the district reside in Orange Co.?

->

check one of the boxes to the right

YES. Your case will initially be assigned to the Southern Division.
§ Enter "Southern" in response to Question E, below, and continue
from there.

 

§ NO. Continue to Question B.2.

 

B.2. Do 50% or more ofthe defendants who reside in
the district reside in Riverside and/or San Bernardino
Counties? (Consider the two counties together.)

check one of the boxes to the right

->

YES. vour case will initially be assigned to the Eastern Division.
§ Enter "Eastern" in response to Question E, below,and continue
from there.

 

NO. Your case will initially be assigned to the Western Division.
§ Enter "Western" in response to Question E, below, and continue
from there.

 

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éUESTldN C: la the United States, or
one of its agencies or employees, a
DEFENDANT in this action?

[:] Yes [Z| No

if "no, " skip to Question D. if "yes," answer
Question C.l, at right.

C.1 . Do 50% or more of the plaintiffs who reside in the
district reside in Orange Co.?

->

check one of the boxes to the right

¥ES. Your case will initially be assigned to the Southern Division.
§ Enter ”Southern" in response to Question E, below, and continue
from there.

 

§ NO. Coritinue to Question C.2.

 

 

C.2. Do 50% or more of the plaintiffs who reside in the
district reside in Riverside and/or San Bernardino
Cou nties? (Consider the two counties together.)

-)

check one of the boxes to the right

YES. Your case will initially be assigned to the Eastern Division.
§ Enter "Eastern" in response to Question Er below,and continue
from there.

 

NO. vour case will initially be assigned to the Western Division.
§ Enter "Western" in response to Question E, below, and continue

 

 

 

 

 

 

 

 

from there.
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louis-non D: L°umn of p|mnt'ffs and defendanis' Orange County Bernardino County Santa Barbara, or San."_:
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indicate the location(s) in which 50% or more of laintiffs who reside i'n this district
reside. (Check up to two boxes, or leave blank if gone of these choices apply.) l:l l:l
indicate the location (s) in which 50% or more of defendants who reside in this
distr|icl)* reside. (Check up to two boxes, or leave blank if none of these choices |:] |:| |:|
app y-

 

El Yes

D.1. ls there at least one answer in Column A'i‘

if "yes," your case will initially be assigned to the
SOUTHERN DlVlSlON.
Enter 'Southern" in response to Question E, below, and continue from there.

if "no," go to question D2 to the right.

-No

-}

D.2. ls there at least one answer in Co|umn B?
:| Yes No
lf "yes," your case will initially be assigned to the
EASTERN DlVlSlON.

Enter "Eastern" in response to Question E, below.

if "no," your case will be assig ned to the WESl'ERN DlV|SlON.

Enter "Western' in response to Question E, below.

 

Question 'E`="iniriai oivisiont

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Enterthe initial division determined by Question A, Br C. or D above: »

 

 

UEsTioii i=r Norrirerrr counties

 

 

Do 50% or more of plaintiffs or defendants in this district reside in Ventura, Santa Barbarar or San Luis Oblspo counties?

|:\ ¥es No

 

 

C\il'-T‘l (10!14)

ClVlL COVER SHEET

PageZof3

Case 2:14-cV-08759-PSG-i\/|RW Document 1 Filed 11/12/14 Page 57 of 59 Page lD #:64

UNITED STATES DlSTRlCl' COURT, CENTRAL DlSTRlCT OF CAL|FORN|A
ClVlL COVER SHEET

lX(a). IDENT|CAL CASES: Has this action been previously filed in this court? NO |:| YES

if yes. list case number(s):

 

l)((b). RELATED CASES: ls this case related (as defined below) to any civil or criminal case(s) previously filed in this court?
NO |:| YES

if yes, list case number(s):

 

Clvl| cases are related when they (check all that appiy):
|:] A. Arise from the same or a closely related transaction, happening, or event;
|:] B. Call for determination of the same or substantially related or similar questions of law and fact; or

|:| C. For other reasons would entail substantial duplication of labor if heard by differentjudges.

Note: That cases may involve the same patent, trademark, or copyright is notr in itself, sufficient to deem cases related.

A civil forfeiture case and a criminal case are related when they (check all that apply):
|:| A. Arise from the same or a closely related transaction, happening, or event;
|:| B. Call for determination of the same or substantially related or similar questions of law and fact; or

C. involve one or more defendants from the criminal case in common and would entail substantial duplication of
labor if heard by differentjudges.

 

X. SlGNATURE OF A1TORN EY ‘“ __"`_ §*~'---a: //
(OR SELF-REPRESENTED LlT|GANT): DATE: ll
¢ f --
Notice to Counse|lParties: The submission of this Civi| Cover Sheet is required by Local Rule 3-1. This Form CV-71 and the information contained herein

neither replaces nor supplements the filing and service of pleadings or other papers as required by iaw, except as provided by local rules of court. For
more detailed instructions see separate instruction sheet (CV-071A).

 

 

Key to Statistical codes relating to Social Security Cases:

Nature of Suit Code Abbreviation Substantlve Statemen! of Cause of Actlon

All claims for health insurance benefits (Medlcare) under Title iB, Part A, of the Social Security Actr as amended. Also,

351 |'"A include claims by hospitals, skilled nursing facilities, etc.. for certification as providers of services under the program.
(42 U.S.C. 1935FF(b))

862 BL Ai| claims for "Black Lung" benefits under Title 4, Part B, of the Federai Coal Mine Hea|th and Safety Act of 1969. (30 U.S.C.
923)

853 D|WC A|i claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as amended; plus
all claims filed for child's insurance benefits based on disability. (42 U.S.C. 405 (g))

863 D|WW All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as
amended. (42 U.S.C. 405 (g))
Ali claims for supplemental security income payments based upon disability filed under`|'lt|e 16 of the Social Security Act, as

864 sS|D amended.

865 RS| A|| claims for retirement (old age) and survivors benefits underTitle 2 of the Social Security Act, as amended.

(42 U.S.C. 405 (g))

 

CV-71 (10}14] ClVlL COVER SHEET Page 3 of 3

Case 2:14-cV-08759-PSG-i\/|RW Document 1 Filed 11/12/14 Page 58 of 59 Page iD #:65

AO 440 (Rev. 0|5!!2) S'i.umncris in l Civil Aclion

UNITED STATES DISTRICT COURT

 

for the
Centrai District of California
Jordan Fi. Go|dberg, an individual; Lynn R. Levitan. )
an individual g
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Naiiansiar Mangaga. LLc. a oeiawara limited liability )
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SUMMONS lN A CIVIL ACTION

To: (Def¢»danr's name andoddre.is) Nailonstar Mortgage. LLC
Agent Addrass: AS CSG - Lawyers incorporating Services. (01592199]
P.O. Box 619081
Da|!as, TX 75261-9?41

A lawsuit has been filed against you.

Within 21 days alier service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or aUnited States agenoy, or an oflicer or employee of the United States described in Fed. R. Civ.
P, 12 (a)(Z) or {3) _ you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federai Rules ofCivil Procedute. The answer or motion must be served on the plaintiff or plaintiffs attomey,
whose name and address are: Lisa Fi. Brant, Esq.

Brant Law Ofl|oea
6186 innovation Way
Garisbad. CA 92009

if you fail to respond, judgment by default will he entered against you for the relief demanded in the complaint
You also must file your answer or motion with the court

    

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Case 2:14-cV-08759-PSG-i\/|RW Document 1 Filed 11/12/14 Page 59 of 59 Page iD #:66

AO 440 (Rc‘.'. 06/ 12) Sumrnons in a Civil Action (Page 2)

Civil Action No.

PRO()F OF SERVICE
(T his section should not be filed with the court unless required by Fed. R. Civ. P. 4 (I))

This summons for (name afindr'vidmi and mie, grany)

 

was received by me on (dare)

i:l I personally served the summons on the individual at (place)

 

on (dare) ; or

EI I len the summons at the individual’s residence or usual place of abode with (mzme)
, a person of suitable age and discretion who resides there,

on (dare) , and mailed a copy to the individual’s last known address; or

ij I served the summons on (name ofiridr'w'duai) , who is

designated by law to accept service of process on behalf of (riame aforgam'zazi'on)

 

 

on (dare) ; or
ij l returned the summons unexecuted because ; or
ij Ol;hel' (speci"jj)):
My fees are $ for travel and $ for services, for a total of $ 0_00

l declare under penalty of perjury that this information is true.

Date:

 

Server 's signature

 

Printed name and title

 

Server ’s address

Additiona] information regarding attempted service, eto:

